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                                                                                           2019 Apr-04 AM 09:28
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA

FARMERS INSURANCE EXCHANGE,               )
TRUCK INSURANCE EXCHANGE,                 )
FIRE INSURANCE EXCHANGE,                  )
MID-CENTURY INSURANCE COMPANY,            )
and FARMERS NEW WORLD LIFE                )     Case No. ____________________
INSURANCE COMPANY                         )
                                          )
             Plaintiffs,                  )
                                          )     JURY TRIAL DEMANDED
vs.                                       )
                                          )
THOMAS CALEB ABERNATHY,                   )
21865 Williamsburg Drive                  )
Athens, AL 35613                          )
                                          )
             Defendant.                   )
______________________________________________________________________________

      COMPLAINT FOR INJUNCTIVE RELIEF AND MONETARY DAMAGES
______________________________________________________________________________

       COME NOW Plaintiffs Farmers Insurance Exchange, Truck Insurance Exchange, Fire

Insurance Exchange, Mid-Century Insurance Company and Farmers New World Life Insurance

Company (collectively “Farmers” or “Plaintiffs”), and for their Complaint seeking injunctive

relief and monetary damages against Defendants Thomas Caleb Abernathy and Cornerstone

Insurance & Financial Group, Inc. state and allege as follows:

                         PARTIES, JURISDICTION AND VENUE

       1.       Plaintiffs Mid-Century Insurance Company and Farmers New World Life

Insurance Company are foreign corporations registered to do business in the State of Alabama.

       2.       Plaintiffs Farmers Insurance Exchange, Truck Insurance Exchange and Fire

Insurance Exchange are inter-insurance exchanges organized and existing under the laws of the
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State of California, have their principal place of business in California and are licensed to do

business in the State of Alabama.

        3.       Defendant Thomas Caleb Abernathy (“Abernathy”) is an individual who, upon

information and belief, currently resides within the State of Alabama. Abernathy is a former

insurance agent of Farmers who previously operated a Farmers insurance agency at 22270-C

U.S. Highway 72 East, Athens, Alabama 35613.

        4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1367(a). Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Abernathy

resides in this District and a substantial part of the events giving rise to Plaintiffs’ claims

occurred in this District.

                        ALLEGATIONS COMMON TO ALL COUNTS

        5.       Farmers is in the business of selling and servicing insurance policies, including

automobile, homeowner’s, commercial and life insurance, to customers through exclusive

independent contractor insurance agents.      See Declaration of Bruce Selin (hereafter, “Selin

Decl.”) attached as Exhibit A, ¶ 3.

        6.       Significant investments have been made in building Farmers’ business, reputation

and customer relationships through its agency force, which is supported with training, customer

service, advertising, promotion and other initiatives. See Exhibit A, Selin Decl., ¶ 4.

        7.       Farmers’ independent contractor insurance agents may not promote or sell

competitive insurance products from other insurers for all classes and lines of insurance

underwritten by Farmers. See Exhibit A, Selin Decl., ¶ 5.

        8.       Farmers’ most valuable assets are its relationships with its customers (i.e.

policyholders) and its customer information (including premium amounts, type of insurance, and




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expirations), which, if made known to Farmers’ competitors, would give them a significant

competitive advantage against Farmers. See Exhibit A, Selin Decl., ¶ 6.

I.     FARMERS’ CUSTOMER INFORMATION ARE TRADE SECRETS

       9.       Farmers has spent a substantial amount of time, labor and capital in developing,

maintaining and updating a proprietary database of trade-secret pricing, expirations and other

customer information and customer relationships. See Exhibit A, Selin Decl., ¶ 10.

       10.      Farmers’ trade-secret customer data is detailed and extensive, far more than just

the names or publicly available information of Farmers’ customers. Farmers’ compiled data

includes information relating to those customers’ insurance needs, such as the types of insurance

coverage, policy limits, claims history, the type of car(s) owned, the details of homes and other

insured properties, eligibility for discounts, prospective pricing and the date the insurance

policies expire. See Exhibit A, Selin Decl., ¶ 11.

       11.      Farmers’ trade-secret customer data also includes other private information about

customers, such as their past claims history, employment and financial condition. See Exhibit A,

Selin Decl., ¶¶ 7, 11.

       12.      Although certain limited contact information might be publicly available for some

Farmers’ customers, such as published home telephone numbers, the majority of the information

referenced above is not publicly available. Rather, the confidential, detailed customer data

gathered and compiled by Farmers and its insurance agency force is available only to Farmers

independent contractor insurance agents and a limited number of Farmers’ employees. There are

no publicly available lists of Farmers’ customers. See Exhibit A, Selin Decl., ¶ 7.

       13.      Farmers derives substantial economic value from preserving its customer

information as trade secrets. Competitors can far more easily solicit Farmers’ customers to




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change insurance providers when those competitors unfairly appropriate Farmers’ trade-secret

customer information. Competitors use that trade-secret customer information to attempt to

solicit Farmers’ customers without having to make the investment of time, labor and capital that

Farmers and its insurance agency force made to compile the information. See Exhibit A, Selin

Decl., ¶ 8.

        14.    Farmers has adopted substantial measures to preserve the secrecy of trade-secret

customer information by instituting protective measures designed to prevent such information

from reaching competitors or any outside third party. See Exhibit A, Selin Decl., ¶ 9.

        15.    Farmers maintains its customer information and policy expirations on a password

and user-ID protected system as part of Farmers’ Agency Dashboard. As part of that system,

Farmers provides independent contractor insurance agents with a “view” in Farmers’ Electronic

Customer Management System (“eCMS”) that is unique to each independent contractor

insurance agent and only available for access by that individual insurance agent and a limited

number of Farmers employees.        The eCMS view provides the insurance agents (and their

authorized staff) with limited access to Farmers’ customer information. See Exhibit A, Selin

Decl., ¶ 12.

        16.    Independent contractor insurance agents are able to create user-IDs for their staff

and are directly responsible for ensuring that all staff members abide by the written practices and

procedures set forth by Farmers. See Exhibit A, Selin Decl., ¶ 12.

        17.    At the time of termination of an agent’s appointment agreement with Farmers, the

access to eCMS of that independent contractor insurance agent and his/her staff is terminated,

and their user ID and password combination is no longer valid. See Exhibit A, Selin Decl., ¶ 15.




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       18.     Farmers protects its confidential trade-secret customer information by requiring

each employee or independent contractor insurance agent who will access the data to agree to

use Farmers’ trade-secret customer information only in the course of his/her employment with

Farmers agency and not to divulge Farmers’ information to third parties or to use this

information in any way detrimental to Farmers. See Exhibit A, Selin Decl., ¶ 9.

       19.     Farmers also protects its trade-secret customer information by issuing and

enforcing company policies regarding access to and preservation of confidential customer

information and by maintaining copies of those policies on the Agency Dashboard system, the

system through which agents are able to access eCMS. See Exhibit A, Selin Decl., ¶ 9.

       20.     Each time an independent contractor insurance agent accesses Farmers’

proprietary system through the Agency Dashboard, that user agrees to abide by an additional and

separate “Legal Disclaimer” reflecting that this information is “proprietary, confidential and

trade secret information of Farmers” and that use of the information “is restricted to the business

of Farmers and your Farmers agency.” See Exhibit A, Selin Decl., ¶ 14.

       21.     Farmers also periodically reminds its independent contractor insurance agents of

Farmers’ confidentiality policies via bulletins and other communication.

II.    FARMERS’ AGENT APPOINTMENT AGREEMENT WITH ABERNATHY

       22.     On or about March 1, 2013, Farmers and Abernathy entered into an Agent

Appointment Agreement and an accompanying Addendum to Agent Appointment Agreement

(collectively hereafter, the “AAA”), whereby Abernathy accepted appointment by Farmers as an

agent of and for Farmers in the State of Alabama to sell insurance for Farmers. A copy of the

Agreement is attached as Exhibit B.




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       23.     Pursuant to paragraph D.1. of the Agreement, it could be terminated at any time,

with or without cause, by either Abernathy or Farmers upon three months written notice. See

Exhibit B, ¶ D.1.

       24.     Pursuant to paragraph J of the Agreement, Abernathy agreed to certain post-

termination obligations as follows:

       4. For a period of one year following the effective date of termination of this
          Agreement, to neither directly nor indirectly solicit, accept, or service the
          insurance business of any policyholder of record in [Abernathy’s] Agency as
          of the effective date of termination, or, at any time otherwise, use confidential
          information and/or trade secrets following the effective date of termination for
          any purpose not related to Agent’s duties under this Agreement;

See Exhibit B, ¶ J.4.

       25.     Pursuant to paragraph K of the Agreement, Abernathy acknowledged:

       “. . . all manuals, lists and other policy or customer information of any kind
       (including information pertaining to policyholders and expirations and the
       expirations themselves) contain trade secret and confidential information of the
       Companies, and are, and shall, after termination of this Agreement, remain the
       property of the Companies.”

Abernathy expressly agreed he would not retain, use or divulge any trade secret and confidential

information of Farmers following termination of the Agreement.

       “Agent agrees such [trade secret and confidential] information will not be used or
       divulged, directly or indirectly, in any way detrimental to the Companies and will
       be returned immediately, along with any copies, to the companies upon
       termination of this Agreement. Agent agrees not to retain the information
       described in this paragraph, in any form, following termination of this
       Agreement.”

See Exhibit B, ¶ K.




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III.   THE TERMINATION OF ABERNATHY’S AGREEMENT WITH FARMERS

       26.     On June 27, 2018, Abernathy gave notice to Farmers that effective September 30,

2018, Abernathy was resigning his Agreement with Farmers. A copy of Abernathy’s notice

letter is attached as Exhibit C.

       27.     On July 30, 2018, Farmers acknowledged receipt of Abernathy’s notice of intent

to terminate the Agreement and concurred that his Agreement with Farmers would terminate

effective September 30, 2018. A copy of Farmers’ letter is attached as Exhibit D.

       28.     In accordance with paragraphs J and K of the Agreement, Farmers requested the

return of all information relating to Farmers’ insureds and reminded Abernathy of the obligations

under Paragraph K of the Agreement that for a period of one year following termination of the

Agreement, Abernathy was not, either directly or indirectly, to solicit, accept or service the

insurance business of any Farmers’ policyholder of record in Abernathy’s Agency as of the date

of termination of the Agreement. See Exhibit D.

       29.     Abernathy’s Agreement with Farmers terminated effective September 30, 2018.

IV.    ABERNATHY’S MISAPPROPRIATION OF FARMERS’ CUSTOMER INFORMATION

       30.     In June 2018, Abernathy’s access of customer information on eCMS for all of the

policyholders he serviced for Farmers significantly increased from previous months and was

highly unusual for his agency. See Exhibit A, Selin Decl., ¶¶ 17-19.

       31.     During the period October 2017 through May 2018, Abernathy accessed

policyholder Billing Summary information on eCMS an average of 69 times per month.

However, in June, July and August 2018, Abernathy’s access of policyholder Billing Summary

information increased to an average of 118 times per month, nearly double Abernathy’s normal

practice. See Exhibit A, Selin Decl., ¶ 18.




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       32.    During the period October 2017 through June 2018, Abernathy accessed

policyholder Auto Policy information on eCMS an average of 54 times per month. However,

during the period from July through September 2018, Abernathy’s average monthly accesses of

policyholder Auto Policy information increased approximately 73%, with 110 accesses in

September 2018 alone. See Exhibit A, Selin Decl., ¶ 19.

       33.    Abernathy accessed policyholder Home Policy information on eCMS an average

of 26 times per month during the period October 2017 through May 2018. However, during the

period from June through September 2018, Abernathy’s average monthly accesses of

policyholder Home Policy information increased approximately 136%, with 78 accesses in

August 2018 alone. See Exhibit A, Selin Decl., ¶ 19.

       34.    The Billing Summary and Auto and Home Policy database on eCMS provided

Abernathy access to Farmers’ confidential, trade-secret customer information about individual

policyholders, including customer names, addresses, phone numbers, policy expiration dates,

types of insurance (home, auto, boat, etc.), vehicle information, details about the home, and the

current premium with Farmers. Through links within the information, Abernathy had access to

each individual policyholder’s private customer information and prospective premium

information. See Exhibit A, Selin Decl., ¶ 20.

V.     ABERNATHY BEGINS SELLING INSURANCE WITH A NEW COMPANY

       35.    Abernathy’s AAA with Farmers terminated effective September 30, 2018.

       36.    In or about October, 2018, immediately following the termination of his

Agreement with Farmers, Abernathy began working as an insurance agent for Legacy Insurance,

Inc., located at 814A Palmer Road, Madison, Alabama 35758 (hereafter, “Legacy”).




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        37.     Legacy is owned and operated by Abernathy’s former District Manager at

Farmers, Matthew Smith.

        38.     When Abernathy’s Agreement with Farmers was terminated on September 30,

2018, he left Farmers with 598 insurance policies in force. By November 2018, the number of

Farmers policies in force from Abernathy’s former agency had dropped to 527.

        39.     Upon information and belief, Abernathy has used and or disclosed the

confidential and proprietary customer information of Farmers for the purpose of, directly or

indirectly, soliciting, accepting, and/or servicing the insurance business of numerous Farmers’

policyholders of record with Abernathy’s former Farmers agency.

        40.     Upon information and belief, Abernathy has directly or indirectly solicited,

accepted, and/or serviced the insurance business of numerous Farmers’ policyholders of record

with Abernathy’s former Farmers agency.

        41.     Abernathy’s conduct as set forth herein is a direct violation of his obligations to

Farmers under the terms and conditions of his Agreement.

        42.     Farmers has and will continue to suffer irreparable harm as a result of

Abernathy’s breach of the Agreement and misappropriation of Farmers’ trade secret information,

including Farmers’ customer information and expirations.

                                        COUNT I
                          MISAPPROPRIATION OF TRADE SECRETS
                                 (18 U.S.C. § 1832, et seq.)

        43.     Farmers realleges and incorporates by reference paragraphs 1 through 42 as if

fully set forth herein.




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       44.        The facts pleaded above constitute actual and threatened misappropriation of trade

secrets by Abernathy in violation of the Federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C.

§ 1832, et seq.

       45.        Farmers’ trade secrets, including the contact and confidential pricing, financial

and account information of Farmers’ customers, are subject to reasonable efforts by Farmers to

maintain their secrecy and/or confidentiality. Farmers’ customer information is not generally

known or available to the public.

       46.        Farmers’ confidential customer information is considered a trade secret under the

DTSA because Farmers derives independent economic value from this information not being

generally known to the public, the information is not readily ascertainable by proper means by

persons who could obtain economic value from its disclosure or use, and the information is the

subject of reasonable efforts to maintain its secrecy.

       47.        Abernathy is misappropriating Farmers’ trade secrets by failing to return the

customer information obtained by him prior to the termination of his Agreement.

       48.        The economic value of the trade secrets is over $75,000.

       49.        Farmers faces an immediate threat of continuing irreparable harm, for which

Farmers lacks an adequate remedy at law, from Abernathy’s ongoing misappropriation of

Farmers’ trade secret customer information.

       50.        Unless Abernathy is preliminarily and permanently enjoined from the foregoing

conduct, Farmers will be irreparably harmed by:

                  a.     Disclosure of trade secrets, customer lists, and other confidential
                         information that is solely the property of Farmers and its customers;

                  b.     Use of Farmers’ trade secrets to solicit customers on behalf of competitors
                         and to disparage Farmers and Farmers’ services in an attempt to convince
                         Farmers’ customers to transfer their business to competitors;



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                c.        Loss of confidentiality of clients’ records and financial dealings, loss of
                          confidence and trust of clients, loss of goodwill and loss of business
                          reputation; and

                d.        Potential future economic loss, which is presently incalculable.

        51.     The threatened harm to Farmers is immediate.

        52.     Farmers has no adequate remedy at law, as the damage in terms of money for the

future loss of the business of its insureds resulting from the conduct by Abernathy cannot be

measured or calculated.

        53.     No damage to Abernathy will result from granting the injunctive relief Farmers

seeks. Abernathy can continue to earn a living, but must not use the confidential, proprietary and

trade secret information relating to Farmers’ insureds.

        54.     The threatened harm to Farmers is greater should injunctive relief not be ordered

in that Abernathy is in violation of the terms of the Agreement, in possession of Farmers’

confidential, proprietary and trade secret information, and is continuing to breach the terms of

the Agreement by failing to return Farmers’ information.

        55.     The public has an interest in seeing that contractual provisions, including

provisions regarding the use and disclosure of confidential, proprietary and trade secret

information and non-solicitation, are enforced.

                                          COUNT II
                                     BREACH OF CONTRACT

        56.     Farmers realleges and incorporates by reference paragraphs 1 through 55 as if

fully set forth herein.

        57.     The Agreement (attached as Exhibit B) is an enforceable contract between

Farmers and Abernathy, and Farmers has fully complied with all of its terms.




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        58.     Abernathy has breached the Agreement in that he has, among other things, failed

and refused to return Farmers’ information regarding its insureds upon termination of the

Agreement.

        59.     As a direct and proximate result of Abernathy’s breach, Farmers has incurred

damages.

        60.     Abernathy’s breach continues to happen, and Farmers has no adequate remedy at

law to stop and fully compensate future, continuing losses.

                                   COUNT III
                 VIOLATION OF THE ALABAMA TRADE SECRETS ACT
                               (ALA. Code § 8-27-1)

        61.     Farmers realleges and incorporates by reference paragraphs 1 through 60 as if

fully set forth herein.

        62.     The facts pleaded above constitute actual and threatened misappropriation of trade

secrets by Abernathy in violation of the Alabama Trade Secrets Act (“ATSA”), Ala. Code § 8-

27-1, et seq.

        63.     Farmers’ trade secrets, including the contact and confidential pricing, financial

and account information of Farmers’ customers, are intended for use in Farmers’ trade or

business.

        64.     Farmers’ customer information is included or embodied in a compilation of data

maintained by Farmers in its proprietary eCMS database.

        65.     Farmers’ customer information is not generally known or available to the public

and is not generally known or readily ascertainable by proper means by persons who could

obtain economic value from its disclosure or use.




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       66.     Farmers’ confidential customer information is the subject of reasonable efforts to

maintain its secrecy.

       67.     Farmers derives significant independent economic value from its confidential

customer information not being generally known to the public

       68.     Abernathy is misappropriating Farmers’ trade secrets by failing to return the

customer information obtained by him prior to the termination of his Agreement.

       69.     Farmers faces an immediate threat of continuing irreparable harm, for which

Farmers lacks an adequate remedy at law, from Abernathy’s ongoing misappropriation of

Farmers’ trade secret customer information.

       70.     Unless Abernathy is preliminarily and permanently enjoined from the foregoing

conduct, Farmers will be irreparably harmed by:

               a.       Disclosure of trade secrets, customer lists, and other confidential
                        information that is solely the property of Farmers and its customers;

               b.       Use of Farmers’ trade secrets to solicit customers on behalf of competitors
                        and to disparage Farmers and Farmers’ services in an attempt to convince
                        Farmers’ customers to transfer their business to competitors;

               c.       Loss of confidentiality of clients’ records and financial dealings, loss of
                        confidence and trust of clients, loss of goodwill and loss of business
                        reputation; and

               d.       Potential future economic loss, which is presently incalculable.

       71.     The threatened harm to Farmers is immediate.

       72.     Farmers has no adequate remedy at law, as the damage in terms of money for the

future loss of the business of its insureds resulting from the conduct by Abernathy cannot be

measured or calculated.




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        73.     No damage to Abernathy will result from granting the injunctive relief Farmers

seeks. Abernathy can continue to earn a living, but must not use the confidential, proprietary and

trade secret information relating to Farmers’ insureds.

        74.     The threatened harm to Farmers is greater should injunctive relief not be ordered

in that Abernathy is in violation of the terms of the Agreement, in possession of Farmers’

confidential, proprietary and trade secret information, and is continuing to breach the terms of

the Agreement by failing to return Farmers’ information.

        75.     The public has an interest in seeing that contractual provisions, including

provisions regarding the use and disclosure of confidential, proprietary and trade secret

information and non-solicitation, are enforced.

                                      COUNT IV
                              BREACH OF FIDUCIARY DUTY

        76.     Farmers realleges and incorporates by reference paragraphs 1 through 75 as if

fully set forth herein.

        77.     By virtue of his prior status as an insurance agent for Farmers, Abernathy

operated as a fiduciary with respect to Farmers’ business, owed Farmers the fiduciary duties of

loyalty and care and was required to keep the confidential and business secrets of Farmers

inviolate.

        78.     Abernathy has breached his fiduciary duties by engaging in misconduct that

served his own self-interests and the interests of others rather than the interests of Farmers and

has acted in a manner inconsistent with the best interests of Farmers – to wit, misappropriating

the trade secret customer information of Farmers in order to unfairly compete against Farmers.

        79.     As a direct and proximate result of Abernathy’s breach of fiduciary duties,

Farmers has incurred damages.



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       80.      The actions of Abernathy were willful and malicious and demonstrate a complete

indifference to or a conscious disregard for the rights of Farmers entitling Farmers to an award of

punitive damages.

       81.      Abernathy will continue to breach his fiduciary duties to Farmers unless

restrained by this Court.

       WHEREFORE, Plaintiffs request that this Court enter judgment in their favor and against

Defendant Thomas Caleb Abernathy as follows:

       a.       Granting preliminary and permanent injunctive relief enjoining and restraining
                Abernathy from directly or indirectly soliciting, accepting, and/or servicing the
                insurance business of any policyholder of record in Abernathy’s Farmers Agency
                as of September 30, 2018 for a period of one year;

       b.       Granting preliminary and permanent injunctive relief enjoining and restraining
                Abernathy from using, disclosing or divulging Farmers’ customer information,
                including but not limited to documents or files containing Farmers’ confidential
                customer information, in any way detrimental to Farmers;

       c.       Ordering Abernathy to return to Farmers all confidential, proprietary and trade
                secret information belonging to Farmers that is still within his possession,
                including all information regarding Farmers’ insureds in whatever form it may
                exist;

       d.       Ordering Abernathy to turn over his computer and external storage devices to
                Farmers for forensic examination to determine the full extent of his use of
                Farmers’ customer information and to delete any documents containing Farmers’
                information;

       e.       Granting Farmers damages for Abernathy’s unlawful conduct, including both the
                profits Farmers lost as a result of any such conduct and any unjust enrichment
                gained by Abernathy;

       f.       Granting Farmers exemplary damages; and

       g.       Awarding Farmers its reasonable attorneys’ fees and costs.




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                            Respectfully submitted,


                            s/ Edward F. Harold
                            Edward F. Harold
                            AL Bar No. asb-0669-d55h
                            FISHER & PHILLIPS, LLP
                            201 St. Charles Avenue, Suite 3710
                            New Orleans, LA 70170
                            (504) 522-3303 TEL
                            (504) 529-3850 FAX

                            ATTORNEY FOR PLAINTIFFS




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